                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN

In re:
                                                       CHAPTER 13 PROCEEDING
ANGELA JANE-HOWEY SIMPSON                              Case No.: 16-21964-dob
                                                       HONORABLE DANIEL S. OPPERMAN

                        Debtor.
_____________________________________________________________________________/

           EX-PARTE MOTION FOR AN ORDER GRANTING THE DEBTOR
          AUTHORITY TO FINANCE THE PURCHASE OF A MOTOR VEHICLE

        NOW COME the debtor herein, ANGELA JANE-HOWEY SIMPSON, by and through her
attorney, Cristie A. VanMassenhove, and hereby move this Court for an Order authorizing the debtor
to finance the purchase of a motor vehicle and in support thereof states as follows:

         1. An Order converting debtor’s case to Chapter 13 was entered on 2/23/2017.

         2. The Debtor has made arrangements to purchase a 2015 Ford Focus with Delehanty Ford,
            Inc. located at 1510 E. Pierson Road, Flushing, Michigan 48433 and financed with
            Santana Consumer USA. Said vehicle has 25,034 miles.

         3. The purchase price of this vehicle will be $12,800.00. With taxes, title, and licenses the
            total cost will be $13,774.38.

         4. Debtor is to pay $1,000.00 cash down, for a total amount to be financed to be $12,774.38.

         5. The loan terms are as follows:

                a.      Total borrowed: $12,774.38;
                b.      Annual interest rate: 25%
                c.      Loan term: 72 months
                d.      Total monthly payment: $369.33

         6. The debtor believe she will be able to afford this monthly payment.

         7. The debtor's vehicle loan will be paid by the Chapter 13 Trustee, Thomas W. McDonald,
            Jr., and shall be paid monthly.

         8. The debtor’s Chapter 13 plan payments will be deducted from her wages.

         9. The 11 U.S.C. Section 362 is not applicable to this collateral.

         10. This debt will not be discharged upon the entry of the debtor’s 11 U.S.C. Section 1328(a)
             or (b) discharge in this case.




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   11. The Debtor does not currently have any plan arrears.

   12. The Debtor owns two vehicles; being a 2009 Hyundai Santa Fe, VIN #
       5NMSH73E89H321976, and a 2003 Subaru Forester, VIN # JF1SG65643G751463.

   13. Debtor is the only licensed driver in the household.

   14. Debtor is requesting to purchase a new vehicle because:

               a. Her current vehicle, the 2009 Hyundai Santa Fe, has 167,000 miles on it
                  and is in need of repairs. It needs 4 new bearings throughout and new CV
                  joints. It also has body damage and rust.

               b. The 2003 Subaru Forester is currently located in the driveway of 16777
                  Beaver Lake Park Road, Lachine, MI, with expired plates (Debtor’s old
                  residence that her ex-husband purchased after the divorce). The vehicle not
                  able to be driven because it has a broken tie rod, needs brakes and a new
                  clutch. It needs thousands of dollars’ worth of repairs and has over 250,000
                  miles on it. Debtor’s ex-husband was supposed to fix said vehicle and never
                  did. Therefore, Debtor purchased the 2009 Hyundai Santa Fe when her ex-
                  husband refused to fix it. Because it hasn't been driven in years, it also needs
                  new tires.

   15. The Debtor was given an estimate of $243 per bearing for the 2009 Hyundai Santa Fe.

   16. Debtor approached several dealerships, and attempted multiple financing options –
       including Champion Chevrolet Fowlerville, LaFontaine of Lansing, CARite of Grand
       Ledge, Suburban Hyundai of Lansing. She was denied financing.

   17. The Debtor can afford the higher payment because she will work overtime, which will
       be regularly available. Debtor will also eliminate cable and her car insurance will
       decrease given the proposed vehicle is a smaller car. The new car will save on gas as
       the Debtor’s current vehicle gets 19 mpg in the city.

   18. Within five (5) days of the entry of the Order approving this vehicle loan, debtor shall
       file with the Court an Amended Pay Order causing her plan payments to increase by an
       amount necessary for the Chapter 13 Trustee to pay the monthly vehicle loan payment
       and also in an amount necessary to be certain there is not a reduced plan distribution to
       the debtors' creditors.

   19. Debtors' attorney shall be awarded $300.00 for preparation of this Motion, the attached
       Order and the Amended Pay Order. Said fees shall be paid by the Chapter 13 Trustee
       upon confirmation of a Chapter 13 Plan. A fee application for payment of the attorney's
       fee is not necessary. Debtors' Amended Pay Order shall also account for payment of the
       attorney fees and will be amended in a manner to be certain there is not a reduced
       distribution by this plan to the debtors' creditors.




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        WHEREFORE, the debtors request this court enter an Order granting this Ex-Parte Motion
authorizing them to enter into a loan agreement to finance the purchase of the above vehicle under
the terms and conditions as set forth herein.


 Dated: April 11, 2017

                                                  Respectfully Submitted,
                                                  /s/Cristie A. VanMassenhove
                                                  By: Cristie A. VanMassenhove (P72704)
                                                  Attorney for Chapter 13 Debtor
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                                                  Alpena, Michigan 49707
                                                  (989) 356-2128
                                                  cristievanmassenhove@gmail.com
 /s/Thomas W. McDonald Jr.
 Thomas W. McDonald, Jr.
 Capter 13 Trustee
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_____________________________________________________________________________/

                  ORDER GRANTING THE DEBTOR AUTHORITY TO
                  FINANCE THE PURCHASE OF A MOTOR VEHICLE


       The debtor having filed a motion requesting entry of an Order granting his authority to
borrow funds to finance the purchase of a year 2015 Ford Focus, and the Chapter 13 Trustee
having approved the proposed transaction;

       IT IS ORDERED that the debtor is hereby authorized to borrow said funds under the
terms and conditions as set forth in the motion.




                                              EXHIBIT A




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